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          ATTACHMENT 1
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 AO 93 (Rev. 12A)9) Senreh (uwJ Sefzitro Wenwt



                                        United States District Court
                                                                     for the
                                                      Eastern District of Virginia

                 In the Matter ofthe Search of
            {Briefly d^fcrlbe (heproperty (o besearched
             or ideniijy the person byname andaddress)                         CaseNo.1:15-SW-89
              OF COMPUTERS THAT ACCESS
                     upf45)v3ljzluctml,onlon                                           UNDER SEAL

                                                 SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcementofficer

        An application by a federal law enforcement officer or anattorney forthegovernment requests thesearch
ofthe following person or property located in the         Eastern          District of          VIralnIa
(identify theperson or describe theproperty to be searchedand giveItslocation)".
See.Attachment A


          The person or property to be searched, described above,is believed to conceal (ideniify the person ordescribe the
property (o be seized)".
See Attachment B



          I find thatthe affidavit(s), or anyrecorded testimony, establish probable causeto search and seizetheperson or
property.

          YOU ARE COMMANDED to execiib^is warrant on orbefbre                                          March 6,201&
                                      ly                                                                   exceed 14 days)
•         in the daytime 6:00 a.m. to 10 p.mr                    any time in the d^ or night as Ifind reasonable cause has been
                                                       /^Established,
          Unless delayed notice Isauthorized below,you mustgivea copy of the warrant and a receipt for the property
taken to the person from whom,-or from whose premises, theproperty was taken, or leave thecopy and receipt atthe
place where the property wastaken.
        The officer executing this warrant, or an officer present during theexecution ofthe warrant, mustprepare an
Inventory as required by law and promptly return this warrant and inventoiy to United States Magistrate Judge
        Honorabte Theresa Carroll Buchanan              .
                               (name)

      ^ 1find that immediate notification may have an adverse result listed In 18 U.S.C, §2705 (except for delay
of trial), andauthorize theofficer executing thiswarrant todelay notice totheperson" wfid'," or whose property, will be
searched orsetzed(check the appropriate box) CSffor 30 days (noi to exceed3Q).
                                                     OunttI, the facts justiiylng, the later speclfiy^ate of                      ,
D..,^d"n.e,ssued:
r.* -.4 4- •      2ffia/201S U-^r
                             \                                            A        Thcrcsa CfirroU Buchanan              •.
                                                                                                                 > -IJ". •I   t
City and state:        Alexandria. Virginia                         Honorable Theresa Carroll Buchanan. U.8. Magistrate'Judge
                                                                                          Printed name andmK
                                                                                                       and
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                                        ATTACHMENT A


                                      Place to be Searched

        Thiswarrant authorizes theuseof anetwork investigative technique CNTT') to bedeployed

on the computer server described below, obtaining information described in Attachment B from the

activating computers described below.

       The computer server is the server operating the Tor network child pornography website

referred to herein as the TARGET WEBSITE, as identified by its URL -upf45jv3bziuctral.onion -

which will be located at a government facility in the EasternDistrictof Virginia.

       The activating computers are those of any user or administrator who logsinto the TARGET

WEBSITE by entering a usemarae andpassword. The govemraent will not employ this network

investigative technique after30 daysafterthis warrant is authorized, without further authorization.
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                                            ATTACHMENT B


                                         Information to bo Seized

        From any "activating" computer described in Attachment A:

        1.       the "activating" computer's actual IPaddress> andthe dateandtimethattheNTT determines

             what that IP address is;

        2.       a unique identifier generated by the NTT (e.g„ a series of numbers, letters, and/or special

             characters) to distinguish datafixjm that ofother"acfivating" computers, that willbe sentwith

             and collected by the NTT;

       3.       the type of operating system running on the computer, including type (e.g., Windows),

             version (c.g., Windows 7), andarchitecture (e.g., x 86);

       4.       information aboutwhether theNIThasalready beendelivered to the"activating" computer;

       5.       the "activating" computer's Host Name;

       6.       the "activating"computer's active operatingsystemusemame; and

       7.       the "activating" computer's media access control ("MAC") address;

that is evidence of violations of 18 U.S.C. § 2252A(g), Engaging in a Child Exploitation Enterprise; 18

U.S.C. §§2251(d)(l)and or (e), Advertising and Conspiracy toAdvertiseChildPornography; 18 U.S.C. §§

2252A(a)(2)(A) and (b)(1), Receipt andDistribution of, and Conspiracy to Receive and Distribute Child

Pomogr^hy; and/or 18 U.S.C. § 2252A(a)(5)(B) and (b)(2). KnowingAccess or Attempted Access With

Intent to View Child Pornography,
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                        IN THE ONITED STATES DISTRICT CO

                       FOR THE EASTERN DISTRICT OF VIRG
                                                                              Rffi
                                       Alexandria Division



 IN THE MATTER OF THESEARCH                     )    FILED UNDER SEAL
 OF COMPUTERS THAT ACCESS                       )
 upf45jv3bziuotml.onion                         )    Case No. 1;I5-SW-89


        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

        I, Douglas Macfarlane, being first duly sworn, hereby depose and state;

                                       INTRODUCTION

        1.     I have been employed as a Special Agent ("SA") with the Federal Bureau of

Investigation ("FBI") since April, 1996, and I am currently assigned to the FBI's Violent Crimes

Against Children Section, Major Case Coordination Unit("MCCU"). Icurrently investigate federal

violations concerning child pornography and the sexual exploitation of children and have gained

experience through training in seminars, classes, and eveiyday woric related to these types of

investigations. I haveparticipated in theexecution ofnumerous warrants involving thesearch and

seizure of computers, computer equipment, software, and electronically stored information, in

conjunction with criminal investigations pertaining to child pornography thesexual exploitation of

children. I have received training inthearea ofchild pornography and child exploitation, and have

had theopportunity to observe andreview numerous examples of child pornography (asdefined in

18 U.S.C. § 2256) in all forms of media including computer media. I am an "investigative or law

enforcement ofticef" oftheUnited States withinthemeanmg of Section 2510(7) ofTitle18, United

States Code, and am empowered by law to conduct investigations of, and to make arrests for,

offbnses enumerated in Section 2516 of Title 18, United States Code.
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         2.        I make this afSdavit in support ofan application for a search warrantto use a network

investigative technique ('WT") to investigate the users and administrators of the website

upf45jY3bziuctmI.onion (hereinafter ^TARGET WEBSITE") as further described in this affidavit

and its attachments.'

         3.       Thestatements contained in thisaffidavit arebasedin parton; information provided

by FBI Special Agents; written reports about this and other investigations that I have received,

directly or indirectly, from other law enforcement agents, including foreign law enforcement

agencies as described below; information gathered from the service of subpoenas; the results of

physical and electronic surveillance conducted by federal agents; independent investigation and

analysis by FBI agents/analysts and computer forensic professionals; ray experience, training and

background as a Special Agent with the FBI, and communication with computer forensic

professionals assisting withthedesignandimplementation of the MTT. This affidavit includes only

those facts that I believe are necessary to establish probable causeand does not include all of the

facts uncovered during the investigation.

                                          RELEVANT STATUTES


         4.       Thisinvestigation concerns alleged violations of; 18U.S.C. § 2252A(g), Engaging in

a Child Exploitation Enteiprise; .1.8 U.S.C. §§ 2251Cd)(l) and (e), Advertising and Conspiracy to

Advertise Child Pornography; 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1), Receiving and

Distributing/Conspiracy to Receive and Distribute Child Pornography; and 18 U.S.C. §



' The common name of the TARGET WEBSITE Is known to law enforcement The site remains active and
disclosure of the name of thesite would potentially alert users to thefeet that law enforcement action Is being taken
against the site, potentially provoking users to notiiy otherusers of lawenforcement action,flee, and/or destroy
evidence. Accordingly, forpurposes ofthe confidentiality and Integrity of theongoing investigation involved inthis
matter, specific namesand other identifying fectors havebeenreplaced with genericterms.
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2252A(a)(5)(B) and (b)(2),.Knowing Possession, Access orAttempted Access With Intent toView

Child Pomogmphy.

              a.       18 U.S.C. § 2252A(g) prohibits a person from engaging in a child

                   exploitation enterprise. A personengages in a childexploitation enterprise if the

                   person violates, inter alia, federal child pornography crimes listed in Title 18,

                   Chapter 110, as part of a series of felony violations constituting three or more

                   separate incidents and involving more than one victim, and commits those

                   offenses in concert with three or moreother persons;

             b.        18U.S.C. §§ 2251(d)(1)and (e) prohibits a person from knowingly making,

                   printingorpublishing, or causingtobe made,printedor published, or conspiring

                   to make, printor publish, any noticeor advertisement seekingor offering: (A) to

                   receive, exchange, buy, produce, display, distribute, or reproduce, any visual

                   depiction, if the productionof suchvisual depiction involves the use of a minor

                   engaging in sexually explicit conduct and such visual depiction is of such

                   conduct, or (B) participation in any act of sexually explicit conduct byor with

                   any minorfor the purpose of producing a visualdepiction of such conduct;

             c.        18 U.S.C. §§ 2252A(a)(2) and (b)(1) prohibits a person from knowingly

                   receiving or distributing, or conspiring to receive or distribute, any child

                   pornography or any material that contains child pornography, as defined in 18

                   U.S.C. § 2256(8), that has been mailed, or using any means or facility of

                   interstate or foreign commerce shippedor transported in or affecting interstate or

                   foreign commerce by any means, including by computer; and
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            d.       18 U.S.G. §§2252A(a)(5)(B) and (b)(2) prohibits a person from knowingly

                 possessing or knowingly accessing with intent to view, or attempting to do so,

                 anymaterialthat contdns an imageof child pornography, as definedin 18 U.S.C.

                 § 2256(8),.that has been mailed, or shipped or transported using any means or

                 facility of interstate or foreign commerceor in or affecting interstateor foreign

                 commerce by any means, including by computer, or that was produced using

                 materials that have been mailed or shippedor transportedin or affecting interstate

                 or foreign commerce by any means, including by coniputer.

         DEFINITIONS OF TECHNICAL TEIMVIS USED IN THIS AFFIDAVIT

    5.      The following definitions apply to this Affidavit:

            a.      "Bulletin Board" means an Internet-based website that is either secured

                 (accessible \vith apassword) orunsecured, and provides members with the ability

                 toviewpostings byother members and make postings themselves. Postings can

                 contain text messages, still images, video images, or web addresses that direct

                 other members to specific content the poster wishes. Bulletin boards are also

                 referredto as "internetforums" or "messageboards," A "post" or "posting" is a

                 singlemessage posted by a user. Users of a bulletin board may postmessages in

                 reply to a post. A message '*thread," often labeled a "topic," refers to a linked

                 series of posts and reply messages. Message threads or topics often contain a

                 title, which is generally selected by the userwho posted the first message of the

                 thread.   Bulletin boards often also provide the ability for members to

                 communicate on a one-to-one basis through "private messages."              Private
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              messagesare similartoe-mail messages that are sent betweentwo membersof a

              bulletin board. Theyare accessible only by the user who sent/received such a

              message, or by the bulletin board administrator.

         b.       "Child erotica," as used herein, means any material relating to minors that

              serves a sexual purpose fora given individual, including fantasy writings, letters,

              diaries, books, sexual aids, souvenirs, toys, costumes, drawings, and images or

              videos of minors that arenot sexually explicit.

         c.       "ChildPornography," as used herein, isdefined in 18 U.S.C. § 2256(8) as any

              visual depiction of sexually explicit conduct where (a) the production of the

              visual depictioninvolved the useof a minorengaged insexually explicitconduct,

              (b) the visual depiction is a digital image, computer image, or computer-

              generated imagethat is, or is indistinguishable from, that ofaminor engagedin

              sexuallyexplicitconduct, or (c) thevisual depictionhas beencreated, adapted, or

              modified to appear that an identifiable minor is engaged in sexually explicit

              conduct.

         d.      "Computer," asusedherein, is defined pursuant to 18U.S.C. § 1030(e)(1)as

              "an electronic, magnetic, optical, electrochemical, or other high speed data

              processing device performing logical or storage functions, and includes anydata

              storage facility or communications facility directly related to or operating in

              conjunction with such device."

         e.      "Computer Server" or "Server," as used herein, is a computer that is attached

              to a dedicated network and serves many users. A 'Svebserver," for example,is a
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               computer which hosts the data associated with a website. That web server

               receives requests from a user and delivers information from the server to the

               user's computer via the Internet. A domain name system ("DNS") server, in

               essence, is a computer on the Internet that routes communications when a user

               ^es a domain name, such as www.cnn.com, into his or her web brovfrser.

               Essentially, the domain namemust betranslated into an Internet Protocol ("IP")

               addressso thecomputer hostingthe websitemaybe located, and theDNS server

               provides this function.

          f.       "Computer hardware," as used herein, consists of all equipment which can

               receive, capture, collect, analyze, create, display, convert, store, conceal, or

               transmit electronic, magnetic, or similar computer impulses or data. Computer

               hardware includes any data-processing devices (including, but not limited to,

               central processing units, internal and peripheral storage devices such as fixed

               disks, external hard drives, floppydisk drives and diskettes, and othermemory

               storage devices); peripheral input/output devices (including, but not limited to,

               keyboards, printers,videodisplaymonitors, and relatedcommunications devices

               such as cablesand connections), as well as anydevices,mechanisms, orparts that

               can be usedto restrictaccessto computerhardware(including,butnotlimited to,

               physical keys and locks),

          g.      "Computer software," as used herein, is digital information which can be

               interpreted by a computer and any of its related components to direct the way

               they work. Computersoftwareis stored in electronic, magnetic, or otherdigital
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               fonti. It commonly includes programs to runoperating systems, applications, and

               utilities.

          h,       "Computer-related documentation," as used herein, consists of written,

               recorded, printed, or eiectrotiically stored material which explains or illustrates

               how to configure or use computerhardware, computersoftware, or other related

               items.

         i.        "Computer passwords, pass-phrases and data security devices," as used

               herein, consist of information or items designed to restrict access to or hide

               computer software,documentation,or data. Data security devicesmay consistof

               hardware, software, or other programming code. A passwordor pass-phrase (a

               string of alpha-numeric characters) usually operates as a sort of digital key to

               "unlock" particular data securitydevices. Data security hardware may include

               enciyption devices, chips, and circuit boards. Data security software of digital

               code mayinclude programming codethat weates*^est" keysor*1iot" keys, which

               performcertainpre-setsecurityflmctions when touched. Datasecuritysoftware

               or code mayalso enciypt, compress,hide, or "booby-trap"protected data to make

               it inaccessible or unusable, as well as reverse the progress to restore it.

         j.        "Hyperiinl<" refersto an item ona web page whioh,whenselected, transfers

               the user directlyto another location in a hypertextdocument orto someotherweb

               page,


         k.       The "Internet" is a global network ofcomputers and other electronic devices

               that communicate vrith each other.        Due to the structure of the Internet,
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               connections between devices on the Internet often cross state and international

               borders, even when the devices conimimicating with each other are in the same

               state.


          1,       "Internet Service Providers" C'ISPs"), as used herein, are commercial

               organizations that arein business to provide individualsand businesses access to

               the Internet ISPs provide a range of ftmctions for their customers including

               access to the Internet, web hosting, e-mail, remote storage, and co-location of

               computers and other communications equipment. ISPs can offer a range of

               options in providing access to the Internet including telephone based dial-up,

               broadband based access via digital subscriber line ("DSL") or cable television,

               dedicated circuits, or satellite based subscription. ISPs typically charge a fee

               based upon the type ofconnectionand volume ofdata, called bandwidth, which

               theconnection supports. ManyISPsassigneachsubscriberan accountname- a

               user name or screen name,an "e-mailaddress,"an e-mail mailbox, and a personal

               password selected by the subscriber. By using a computer equipped with a

               modem,the subscribercan establish communication with an ISPover a telephone

               line, througha cablesystemor via satellite, and can access the Internetbyusing

               his other account name and personalpassword,

         m.        "Internet Protocol address" or "IP address"refersto a uniquenumberusedby

               a computer to access the Internet. IP addresses can be "dynamic," meaning that

               the Internet Service Provider ("ISP") assigns a different unique number to a

               computereverytime it accessesthe Internet. IP addresses mightals6 be"static,"


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              if an ISP assigns a user's computer a particular IP address which is used each

              time thecomputer accesses theInternet, IPaddresses are also used by computer

              servers, including web servers, to communicate with other computers.

         n.       "Minor" means any person under the age of eighteen years. See 18U.S.C, §

              -2256(1).

         0.       The terms "records," "documents," and "materials," as used herein, include

              allinformation recorded inanyform, visual oraural,and byany means, whether

              Inhandmade form (including, but not limited to, writings, drawings, painting),

              photographic form (including, but not limited to, microfilm, microfiche, prints,

              slides, negatives, videotapes, motion pictures, photocopies), mechanical form

              (including, but not limitedto, phonograph records, printing,typing) or electrical,

              electronic or magnetic form (including, but not limited to, tape recordings,

              cassettes, compact discs, electronic or magnetic storage devices such as floppy

              diskettes, hard disks,CD-ROMs, digitalvideo disks ("DVDs"), Personal Digital

              Assistants ("PDAs"), Multi Media Cards ("MMCs"), memory sticks, optical

              disks, printer buffers, smart cards, memory calculators, electronic dialers,

              Bemoulli drives, or electronic notebooks, as well as digital data files and

              printouts or readouts from any ma^etic, electrical,or electronic storage device).

         p.      "Sexually explicit conduct" means actual or simulated (a)sexual intercourse,

              includinggenital-genital, oral-genital, anal-genitalor oral-anal, whether between

              persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d)sadistic

              or masochisticabuse; or (c) lascivious exhibition of the genit^s or pubic area of
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                    any person. See 18 U.S.C. § 2256(2).

               q.      "Visual depiGtions" include undeveloped filmandvideotape, anddata stored

                    on computer diskor byelectronic means, vWch is capable of conversion intoa

                    visual image. See 18 U.S.C. § 2256(5).

               r.      "Website" consists of textual pages of information and associated graphic

                    images. The textual information isstored ina specific format known asHyper-

                    Text Mark-up Language ("HTML") and is transmitted from web servers to

                    various webclients via Hyper-Text Transport Protocol ("HTTP").

                                     PROBABLE CAUSE

       6.      The targets of the investigative technique described hereinaretheadministrators and

usersof the TARGETWEBSITE - upf45jv3bziuctnil.onion - which operates as a "hidden service"

located on the Tor network, as further described below. The TARGET WEBSITE is dedicatedto the

advertisement and distribution of child pornography, the discussion of matters pertinent to child

sexual abuse, includingmethodsand tacticsoffenders useto abuse children,as well as methods and

tactics offenders use to avoid law enforcement detection while perpetrating online child sexual

exploitationcrimessuchas those described in paragraph 4 ofthis affidavit. Theadministrators and

users of the TARGET WEBSITE regularly send and receive illegal child pomogiaphy via the

website.

                                        The Tor Network


       7.     The TARGET WEBSITE operates on an anonymity network available to Internet

users known as "The Onion Router" or "Tor" network. Tor was originally designed, implemented,

and deployed as a project of the U.S. Naval Research Laboratory for the primary purpose of


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 protecting government oonunimications. It is now available to the public at large. Information

 documenting what Tor is and howit works is provided on the publicly accessible Tor website at

 www.toiprojeot.org. In order to access the Tor network, a user must instdll Tor software either by

 downloading anadd-on totheuser'swebbrowser or bydownloading thefree"Torbrowser bundle"

available at www.toiproject.org.^
           8.    The Tor software protects users' privacyonline by bouncing theircommunications

around a distributed network of relay computers run by volunteers all around the world, thereby

maskingthe user's actual IP address whichcould otherwise be used to identify a user. It prevents

someone attemptingto monitoran Internetcormection from learning whatsites a user visits,prevents

the sites the user visits fi-om learning the user's physical location, and it lets the user access sites

which could otherwise be blocked. Because of the way Tor routes communications through other

computers, traditional IP identification techniques are not viable. When a user on the Tor network

accesses a website, for example,the IP address of a Tor "exit node," rather than the user's actual IP

address, shows up in the website'sIP log. An exit node is the last computer throughwhicha user's

communicationswere routed. There is no practicai wayto trace the user's actxjal IP back through

that Tor exit node IP. In thatway, using the Tor network operatessimilarlyto a proxy server- that

is, a computer through which communicationsare routed to obscure a user's true location.

           9.    Tor also makes it possible for users to hide their locations while offering various

kinds of services, such as web publishing, fbrum/websitehosting, or an instant messaging server.

Within the Tor network itself, entire websites can be set up as "hidden services." "Hidden services,"


2 Users mayalso accessthe Tor network through so-called"gateways'* on the open Internetsuch as "onion.to"and
"tor2web.org,*' however,tise of thosegateways does not provide users with the anonymizingbenefits ofthe Tor
network.


                                                      11
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like other websites, are hosted on computer servers that communicate through IP addresses and

operate the same as regular public websites with one critical exception. TheIPaddress fortheweb

server ishidden and instead isreplaced with aTor-based web address, which isaseries ofalgorithm-

generated characters, such as"asdlk8fs9dflku7f' foUowed bythesufRx ".onion." Ausercanonly

reach these "hidden services" if the user is using the Tor client and operating inthe Tornetwork.

And unlike an open Internet website, is not possible to determine through public lookups the IP

address of a computer hosting a Tor "hidden service." Neither law enforcement nor users can

therefore detennine the location ofthecomputer that hosts diewebsite through those public lookups.

                         Finding and Accessing the TARGET WEBSITE

        10.    Because the TARGET WEBSITE is a Tor hidden service, it does not reside on the

traditional or "open" Internet. A user may only access the TARGET WEBSITE through the Tor

network. Even after connecting to the Tor network,however, a user must knowthe web address of

the website in order to access the site. Moreover, Tor hidden services are not indexed like websites

on the traditional Internet. Accordingly, unlike on the traditional Internet, a usermay not simply

performa Google searchfor the nameof oneof the websites on Tor to obtain and clickon alink to

the site. A user might obtain the web address directly from communicating with other users of the

board, or from Internetpostingsdescribing the sort ofcontentavailableon the website as wellas the

website's location. Forexample,thereis a Tor "hidden service"page Chat is dedicated to pedophilia

and child pornography. That "hidden service"contains a section with links to Tor hiddenservices

that contain child pornography. The TARGET WEBSITE is listed in that section. Accessing the

TARGET WEBSITEtherefore requires numerous afBrmative steps by the user,makingit extremely

imlikelythat any usercouldsimplystumble upon theTARGET WEBSITE without understanding its

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 purpose and content Inaddition, upon arrivai at the TARGET WEBSITE, theuser sees images of

 prepubesoent females partially clothed and whose legs arespread with instructions for joining the

 site before one can enter. Accordingly, there is probable cause to believe that for the reasons

described below, any user who successfljlly accesses the TARGET WEBSITE has ioiowingly

accessed with intent toview child pornography, or attempted to do so.

                              Descriptionof the TARGETWEBSITE and Its Content

          11.     Between September 16,2014 and February 3,2015, FBI Special Agentsoperating

in the District of Marylandconnected to the Internetvia the Tor Browser and accessed the Tor

hiddenservicethe TARGET WEBSITE at its then-current Uniform Resource Locator C'URL")

muff7i44irws3mwu.onion.^ The TARGET WEBSITE appeared to beamessage board website
whose primary purpose is the advertisement and distribution of child pornography. According to

statistics posted on the site, the TARGET WEBSITE contained a total of 95,148 posts, 9,333

total topics, and 158,094total members. The website appeared to have been operating since

approximately August 2014 whichis whenthe first post was made on the messageboard.

         12.      On the main page of the site, located to either side of the site name were two

images depictingpartially clothed prepubescent females with their legsspreadapart, along with

the text underneath stating, "No cross-board reposts, .7z preferred,encrypt filenames, include

preview, Peace out." Based on my training and experience, J know that; "no cross-board reposts"

refers to a prohibition againstmaterial that is posted on other websites from being "re-posted" to



3 As of February 18,2015, the URL of the TARGET WEBSITE had changed from muff7i44irws3mwu.onion to
upf45jv3bziuctml.onion. I am aware frommy trainingand experiencethat it is possible for a website to be moved
fi^m one URL to another without altering its content orfunctionality. I am also aware from the instant Investigation
Uiat the administrator of the TARGET WEBSITE occasionally changes the location and URL of the TARGET
WEBSITE in an effort to, In part,avoid law enforcement detection. On February 18,2015,1 accessed the TARGET

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 theTARGET WEBSITE; and ".7z"refers to a preferred method of compressing large files or

 sets of Bles for distribution. Two data-entry fidds with a corresponding 'Togin"button were

 located to the right ofthe site name. Located below the aforementioned items was the message,
 "Warm'ng! Onlyregistered members areallowed to access the section. Please login below or

 *register an account' (ahyperlink to the registration page) with [TARGET WEBSITE name]."

Below thismessage was the "Login" section, consisting of four data-entry fields withthe

corresponding text, "Usemame, Password, Minutes to staylogged In, andAlways stay logged

in."

         13.     Uponaccessing the "register an account" hyperlink, the following message was

displayed:

         "VERY IMPORTANT, READ ALL OF THIS PLEASE.

         I will add to this as needed.

         The software we use for this forum requires that new users enter an email address, and
         checks that what you enter looks approximately valid. We can't turn this off but the forum
         operators do NOT want you to enter a real address, just something that matches the
         xxx@yyy.zz2.pattem. Noconfirmation emailwillbe sent.This boardhasbeen intentionally
         configured so thatit WILL NOT SEND EMAIL, EVER, Do not forgetyourpassword, you
        won't be able to recover it.

        Afteryou register and login to this forum you will be able to fill out a detailed profile. For
        your security you shouldnot post information here that can be used to identifyyou.
        Spam, flooding, advertisements, chain letters, pyramid schemes, and solicitations are
        forbidden on this forum.

        Note that it is impossible for the staffor theowners of this forum to confirm thetrueidentity
        of users or monitor in realtime all messages posted, and as such we are not responsible for
        the content posted by those users. You remain solely responsible for the content of your
        posted messages.



WEBSITE Inan undercover oapaoity at its new URL, and determined diat its content has notchanged.

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         The forum software places a cookie, a text file containing bitsof information (suchas your
         usemame and password), in your browser's cache. This is ONLYused to keep you logged
         in/out.This website is notable tosee your IP andcan not collect or sendanyother form of
         information to yourcomputer exceptwhatyouexpresslyupload. Foryourownsecurity when
         browsing or Tor we also recomend that you turnoff javascript and disable sending of the
         'referer' header."


         14.       After accepting the aboveterms, registration to the messageboard then requires a

user to enter a usemame, password,and e-mailaccount; although a valid e-mail account was not

required as described above. After successfully registering and logging into the site, the

following sections, forums, and sub-forums, alongwith the corresponding number of topicsand

posts in each, were observed:

         Section - Forum                                     Topics           Posts
         GeneralCategory
           [the TARGETWEBSITE] information and rules                          25               236
            How to                                           133              863
            Security& Technology discussion                  281              2,035
            Request                                          650              2,487
           General Discussion                                1,390            13,918
           The INDEXES                                       10               119
           Trash Pen                                         87               1,273
         [the TARGET WEBSITE) Chan
           Jailbait^ - Boy                                   58                154
           Jailbait-Girl                                     271.             2,334
           Preteen - Boy                                     32               257
           Preteen ~ Girl                                    264              3,763

        Jailbail Videos
          Girls                                              643              8,282
           Boys                                              34                183

        Jailbait Photos
           Girls                                             339              2,590
           Boys                                              6                39




^Based on my training and ©xpcricnco, t know that"jailbalt" refers to underage butpost-pubescent minors.

                                                        15
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          Pre-teen Videos
             Girls HC^                                          1,427             20,992
             Girls SC/NN                                        514               5,635
             BoysHC                                             87                1,256
             Boys SCTNN                                        48                 193

          Pre-teen Photos
             Girls HC                                          433               5 314
             Girls SC/NN                                       486               4^902
             BoysHC                                            38                330
             Boys SC/NN                                        31                 135
          Webcams
             Girls                                              133              2,423
             Boys                                              5                  12

          Potpourri
             Family[TARGET WEBSITE]-Incest                     76                1,718
             Toddlers                                          106               1,336
             Artwork                                           58                314

         Kinky Fetish
           Bondage                                             16                222
           Chubby                                              27                309
            Feet                                               30                218
            Panties, nylons, spandex                           30                369
            Peeing                                             101               865
            Scat                                               17                232
            Spanking                                           28                251
            Vintage                                            84                878
            Voyeur                                             37                454
            Zoo                                                25                222

         Other Languages
           Italiano                                            34                1,277
           Portugues                                           69                905
            Deutsch                                            66                570
            Bspanol                                            168                1,614
            N^erlands                                          18                264
            Pyccknn-Russian                                    8                 239



  Based on my trainingand experience,I knowthat the following abbreviations respectively mean: HC ~ hardoore,
i.e., depictionsof penetrative sexuallyexpiicft conduct; SO- softcore, i.e., depictions of non-penetrative sexually
explicit conduct; NN - non-nude, i.e., depletionsof subjects who are fully or partially clothed.

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         Stories
              Fiction                                    99             505
              Non-fiction                                122            675

        15,        An additional section and forum was also listed in which members could

exchange usemames on a Tor-network-based instant messaging service thatI know, based upon

my traming andexperience, to becommonly used bysubjects engaged in theonline sexual

exploitation ofchildren.

        16.        A review of thevarious topics within the above forums revealed each topic

contained a title, the author, the number of replies, the number of views, and the lastpost. The

last post section included the dale and time of the post as well as the author. Upon accessing a

topic, the original post appeared atthe top of the page, with any corresponding replies to the

original post included the post thread below it. Typical posts appeared to contain text, images,

thumbnail-sized previews of images, compressed files (such as Roshal Archive files, commonly

referred to as ".rar" files, which are used to store and distribute multiple files within a single file),

links to external sites, or replies to previous posts.

        17.       A review of the varioustopics within the "[the TARGET WEBSITE] information

and rules," "How to," "General Discussion," and "Security& Technologydiscussion"forums

revealed the majority contained general information in regards to the site, instructions and rules

for how to post, and welcome messagesbetween users.

        18,       A review of topics withinthe remaining forums revealed the majoritycontained

discussions, as well as numerous images that appeared to depict child pornography ("CP") and

child erotica of prepubescent females, males, and toddlers. Examples of these are as follows:

                 On February5,2015, the user "Mr. Devi" posted a topic entitled "Buretino-06" in

                                                   17
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                theforum '^Pre-teen - Videos - Girls HC" that contained numerous images
                depicting CP ofa prepubescent orearly pubescent female. One of these images
                depicted thefemale being orally penetrated by thepenis of a naked male.

                On January 30,2015, theuser "MoDoNT* posted a topic entitled "Sammy" in the
                forum "Pre-teen Photos - Girls HC" that contained hundreds ofimages depicting
                CP of a prepubescent female. One ofthese Images depicted the female being
               orally penetrated bythe penis of a male.

               On September 16,2014, the user "tutuOl" posted a topic entitled "9yo Niece -
               Horse.mpg" inthe "Pre-teen Videos - Orris HC" forum that contained four images
               depicting CPofa prepubescent female and a hyperlink to anexternal website that
               contained a video tiledepicting what appeared to bethesame prepubescent
               female. Among other things, the video depicted the prepubescent female, who was
               naked from thewaist down with hervagina and anus exposed, lying or sitting on
               top of a.naked adult male, whosepenis was penetrating her anus.

        19.    A listof members, which wasaccessible afterregistering for an account, revealed

that approximately 100 users made at least100posts to one or moreof the forums.

Approximately 31 of these users made at least300 posts. Analysis of available historical data

seized from the TARGETWEBSITE, as described below, revealed that over 1,500 unique users

visited the website daily and over II,000 unique users visited the website over the courseof a

week.


        20.,   A private message feature also appeared to be availableon the site, after

registering, thatallowed users tosend other users private messages, referred to as "personal

messages or PMs," which are only accessible to the sender and recipient of the message. Review

of the site demonstrated that the site administratormade a posting on Januaiy 28,2015, in

response to another user in which he stated, among other things, "Yes PMs should now be fixed.

As far as a limit, I have not deleted one yet and 1have a few hundred there now...."

        21.    Furtherreview revealed numerous additional posts referencing privatemessages



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or PMs regarding topicsrelated to childpornography, including one postedbya userstating,

"Yes i can help if you are a teen boy and want to fuck your little sister, write me a private

message."

        22.     Based on ray training and experience andthe review of the site by law

enforcement agents, I believe that the private message function ofthe site is being used to

oonununicate regarding the dissemination of child pornography and to share information among

users that may assist in the identification of the users.

        23.     TheTARGET WEBSITE also includes a feature referred to as "[theTARGET

WEBSITE] ImageHosting".This feature of the TARGET WEBSITE allows usersof the

TARGET WEBSITE to upload links to images of child pornography that are accessibleto all

registered users of the TARGETWEBSITE. On February 12,2015, an FBI Agentaccessed a

post on the TARGET WEBSITE titled"Giselita" which wascreated by the TARGET WEBSITE

user "Dark Ghost". The postcontained links to images storedon "[the TARGET WEBSITE]

Imago Hosting". The images depicted a prepubesoent female in various states of undress, Some

images were focused on the nude genitals of a prepubesoent female. Some images depicted an

adult male's penis partially penetrating the vagina of a prepubesoent female.

        24.     The TARGET WEBSITE also includes a feature referred to as "[the TARGET

WEBSITE] File Hosting". This feature of the TARGET WEBSITE allows users of the TARGET

WEBSITE to upload videos of child pornography that are in turn, only accessible to users of the

TARGET WEBSITE. On February 12,2015, an FBI Agent accessed a post on the TARGET

WEBSITE titled "Vicky Coughing Cum" which was created by the TARGET WEBSITE user

"clitflix", The post contained a link to a video file stored on "[the TARGET WEBSITE] File


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Hosting". The video depicted an adultmale masturbating and ejaculating into the mouth of a

nude, prepubesoentfemale.

        25.    TheTARGET WEBSITE also includes a feature referred to as "[the TARGET

WEBSITE] Chat". OnFebruaiy 6,2015, an FBI Special Agent operating in theDistrict of

Maryland accessed "[theTARGET WEBSITE] Chat" which washosted on thesameURLas the

TARGET WEBSITE. The hyperlink to access "[the TARGET WEBSITE] Chat" was located on

the main index page of theTARGET WEBSITE. After logging into [the TARGET WEBSITE]

Chat, over50 users were observed to be logged in to theservice. While logged in to [the

TARGET WEBSITE] Chat, the following observations were made:

               User "gabs" posted a link to an image that depictedfour females performing oral

               sex on each other. At leasttwo of the females depicted were prepubescent.

               User "Rusty" posteda link to an imagethat depicted a prepubescent female with

               an amber colored object inserted into her vagina.

               User "owlmagic" posted a link to an image that depicted two prepubescent

               females layingon a bed with their legsin the air exposing their nude genitals.

       Other images that appeared to depict child pornography were also observed.

       26.     The images described above, as well as other images, were captured and are

maintained as evidence.

                           THE TARGET WEBSITE SUB-FORUMS


       27.     While the entirety of the TARGET WEBSITE is dedicated to child pornography,

the following sub-forums of the TARGET WEBSITE were reviewed and determined to contain

the most egregious examples of child pornographyand/or dedicated to retellings of real world


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 hands on sexaa! abuse of children.

             •   Pre-teen Videos - Girls HC

             •   Pre-teen Videos - Boys HC

             •   Pre-teen Photos - Girls HC

             •   Pre-teen Photos- Boys HC

             •   Potpourri - Toddlers

             •   Potpourri - Family PlayPen- Incest

             •   Spanking

             •   Kinky Fetish- Bondage

             •   Peeing

             •   Scat®

             •   Stories - Non-Fiction

             •   Zoo


             •   Webcams - Girls

             •   Webcams - Boys

      Identification and Seizure ofthe Computer Server Hosting the TARGET WEBSITE

       28,       In December of 2014, a foreign law enfbrcement agency advised the FBI that it

suspected IP address 192.198.81.106, which is a United States-based IP address, to be associated

wdth the TARGET WEBSITE. A publicly available website provided information thattheIPAddress

192.198.81.106 was owned by Centrilogic,a server hosting company headquartered at 801 Main

Street NW, Lenoir, NC 28645-3907. Throughturtfaer investigation, FBIverifiedthat theTARGET



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 WEBSITE vras hosted from thepreviously referenced IP address. A Search Warrant was obtained

and executed at Centrilogic in January 2015 and a copy of the server (hereinafter the "TARGET

SERVER") that was assigned IP Address 192.198.81,106 was seized. FBI Agents reviewed the

contentsof the Target Serverand observed that it contained a copyof the TARGET WEBSITE. A

copy of the TARGET SERVER containing the contents of the TARGET WEBSITE is currently

located on a computer server at a government facility in Newington, VA, in the Eastern District of

Virginia. Further investigation hasidentified a resident ofNaples, FL, as thesuspected administrator

ofthe TARGET WEBSITE, who hasadministrative control overthecomputerserver in Lenoir, NC,

that hosts the TARGET WEBSITE.

         29.       While possession of the server data will provide important evidence concerning the

criminal activity that has occurred on the server and the TARGET WEBSITE, the identities of the

administrators and users of the TARGET WEBSITE would remain unknown without use of

additional investigative techniques. Sometimes, non-Tor-based websites haveIPaddress logs that

can beused to locate andidentify theboard's users. In suchcases, a publicly available lookup would

be performed to determine whatISPowned the target IP address, and a subpoena would be sentto

that ISP to determine the user to which the IP address was assigned at a given date and time,

However, in the case of the TARGET WEBSITE, the logs of member activity will contain only the

IP addresses of Tor"exit nodes" utilizedbyboardusers. Generally, those IP address logs cannotbe

used to locate and identify the administrators and users ofthe TARGET WEBSITE.'
         30.        Accordingly, on Februaiy 19, 2015, FBI personnel executed a court-authorized


6 Based onmy training and experience, "scat" refers to sexually explicit activity Involving defecation and/or feces.
^Dueto a misconfiguration of dieTARGET WEBSITE that existed for an unknown period oftime, thetrue IP
Addresses of a small number of users of the TARGETWEBSITE (that amountedto less than ]% of registered users

                                                          22
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 search at the Naples, FL,residence of the suspected administrator of theTARGETWEBSITE. That

 individual was apprehended and the FBI has assumed administrative control of the TARGET

 WEBSITE. The TARGET WEBSITE will continue to operate from the government-controlled

 computer serverin Newington, Virginia, on whicha copyofTARGETWEBSITE currently resides,

Theseactions willtakeplace for a limited period of time, not to exoeed'30 days, in' order to locate

and identify the administrators and users of TARGET WEBSITE through the deployment of the

network investigative technique described below. Such a tacticis necessary inorder to locateand

apprehend the TARGET SUBJECTS who are engaging in the continuing sexual abuse and

exploitation ofchildren,andto locateand rescuechildrenfromthe imminentharm ofongoing abuse

and exploitation.

                        THE NETWORK INVESTIGATIVE TECHNIQUE

         31.      Basedon mytraining andexperience as a Special Agent, as wellas the experience of

other law enforcement officers andcomputer forensic professionals involved in this investigation,

and based uponall ofthe facts set forthherein,to my knowledge a networkinvestigative technique

C*NIT") such as the one applied forherein consistsofa presently available investigative technique

with a reasonable likelihoodofsecuringthe evidence necessaryto prove beyonda reasonabledoubt

the actual location and identity of those users and administrators of the TARGET WEBSITE

described in Attachment A whoareengaging in the federal offenses enum^ted inparagrsqjh 4. Due

to the uniquenatureof the Tornetworkandthe methodbywhichthe network protects theanonymity

of its users by routingcommunications through multiple other computersor "nodes," as described

herein, other investigative procedures that are usually employed in criminal investigations of this


of the TARGET WEBSITE) were captured in die log files stored on the Centrilogic server.

                                                      23
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 type have been tried and have failed orreasonably appear to beunlikely to succeed ifthey are tried.

         32.       Based on my training, experience, and the investigation described above, I have

concludedthat usinga NITmayhelp FBIagentslocatethe administrators and users of theTARGET

WEBSITE. Accordingly, I request authority to usetheNIT, which will bedeployed ontheTARGET

WEBSITE, whiletheTARGET WEBSITE operates intheEastwn District of Virginia, to investigate

any user or administrator who logs into the TARGET WEBSITE by entering a usemame and

password,®

         33.      In the normal course of operation, websites send content to visitors. A user's

computer downloads thatcontent anduses it todisplay webpageson theuser's computer. Under the

NIT authorized by this warrant, the TARGET WEBSITE, which will be located in Newington,

Virginia, in the EasternDistrictof Virginia,would augment that content with additional computer

instructions. When a user's computer successfiillydownloads those instructions from the TARGET

WEBSITE, locatedin the Eastern District.ofVirginia, theinstructions, which comprise the NIT, are

designed to cause the user's "activating" computer to transmit certain information to a computer

controlled by or known to the government. That information is described withparticularity on the

warrant (in Attachment B of this affidavit), and the warrant authorizes obtaining no other

information. The NIT will not deny the user of the "activating" computer access to any data or

functionality of the user's computer.

         34.      The NIT will reveal to the government environmental variables and certain registry-



' Although this application and affidavit requests authority todeploy the NIT toinvestigate any user who logs in to
the TARGET WEBSITE with a usemame and password, in order to ensure technical fbasihill^ and avoid detection
of the techniqueby suspectsunderinvestigation, in executing therequested warrant, the FBI maydeploy theNIT
more discretely against partic^ar users, such as those who have attained ahigher status on Website I by engaging in
substantial postingactivity, or in particularareasof TARGET WEBSITE, suchas the TARGET WEBSITE sub-

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 type information that may assist inidentifying the user's computer, itslocation, and the user ofthe

 computer,as to which thereis probablecause to believe is evidenceofviolations of the statutes cited

 In paragraph 4. In particular, the NIT will only reveal to the government thefollowing items, which
 are also described in Attachment B:

                  a.       The"activating" computer's actual IPaddress; and the dateand time that the

                       NIT determines what that IP address is;

                  b.       A unique identifier generated by the NIT (e.g., a series of numbers, letters,

                       and/or special characters) to distinguish the data from that ofother "activating"

                       computers. That uniqueidentifier will be sent with and collected by the NTT;

                 c.        Thetype of operating system running on thecomputer, including type (e.g.,

                       Windows), version (e.g., Windows 7), and architecture (e.g., x 86);

                 d.        Information, about whether the NTT has already been delivered to the

                       "activating" computer;

                 e.        The"activating" computer's"HostName." A HostNameIsa name assigned

                       to a deviceooraiected to a computernetworkthat is usedto identifythedevicein

                       various forms of electronic communication, such as communications over the

                       Internet;

                 f.        the "activating" computer's active operating system usemame; and

                 g.        The "activating" computer's Media Access Control ("MAC") address. The

                       equipmentthat coimects a computerto a network is commonlyrefeixed to as a

                       network adapter. Most network adapters have a MAC address assigned by the


forums described in Paragraph 27.

                                                    25
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                    mmiufacturer jofthe adapter thatisdesigned to be a unique identifying number. A

                    unique MAC address allows for properroutingofoommunications ona network.

                     Beoause theMACaddress does notchange andis intended'to be unique, a MAC

                    address can allow law enforcementto identify whether communications sent or

                    received at different times areassociated with the sameadapter.

        35.     Each of these categories ofinformation described above, and in Attachment B,may

constitute evidence ofthe crimes under investigation, including information that may help toidentify

the "activating" computer and its user. The actual IP address of a computer that accesses the

TARGET WEBSITE can be associated with an ISP and a particular ISP customer. The unique

identifier and infonnation about whether the NTT has already been delivered to an "activating"

computerwilldistinguish thedata from thatof other"activating" oamputers. The typeof operating

system runningon the computer, the computer's HostName,acdve operatingsystem usemame, and

the computer's MAC addreSs can help to distinguish the user's computer from other computers

located at a user's premises.

        36.     During the up to thirty day period that the NTT is deployed on the TARGET

WEBSITE, which will be located in the Eastern District of Virginia, each time that any user or

administrator logs into the TARGET WEBSITE by entering a usemame and" password, this

application requests authority for the NTT authorized by this warrant to attempt to cause the user's

computer to send the above-described infonnation to a computer controlled by or known to the

government that is located in the Eastem District of Virginia.

        37.    In the normal course ofthe operation ofa web site, a user sends "request data" to the

web site in order to access that site. While the TARGET WEBSITE operates at a government


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 facility, such request data associated with a user's actions on the TARGET WEBSITE will be

 collected. That data collection is nota function of the NTT. Such request data can be paired with

datacollected bythe NTT, however, inorder toattempt toidentify aparticular user and todetermine

that particular user's actions on the TARGET WEBSITE.

                             REQUEST FOR DELAYED NOTICE

        38.     Rule 41 (f)(3) allows forthedelay of any notice required bythe rule if authorized by

statute. 18 U.S.C. § 3103a(b)(l ) and (3) allows for any notice to be delayed if "the Court finds

reasonable grounds to believe thatproviding immediate notification of the execution of thewarrant

may have an adverse result (as defined in 18 U.S.C, § 2705),..or where the warrant"providesfor

the giving of such notice within a reasonable period not to exceed 30 days after the date of its

execution, or on a laterdate certainifthe factsof the casejustify a longerperiod of delay." Because

there are legitimate law enforcement interests that justify the unannounced use of a NIT, I ask this

Court to authorize the proposed use of the NIT without the prior announcement of its use.

Announcing the use of the NITcould cause theusersor administrators of the TARGETWEBSITE to

undertake other measures to conceal their identity, or abandon the use of the TARGETWEBSITE

completely,thereto defeating the purposeof the search.

        39.    The government submits that notice of the use of the NTT, as otherwise required by

Federal Rule of CriminalProcedure 41(f), would risk destruction of, or tampering with, evidence,

such as files stored on the computers of individualsaccessing the TARGET WEBSITE. It would,

therefore, seriously jeopardize the success of the investigation into this conspiracy and impede

efforts to learn the identityof the individualsthatparticipatein this conspiracy,and collectevidence




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 of,andproperty usedincommitting, thecrimes (anadverse result under 1S U.S.C. §3103a(b)(l) and

 18 U.S.C. § 2705).

        40.   ' Furthermore, the investigation has notyetidentified an appropriate person towhom

suchnotice canhe given. Thus, the government requests authorization, under 18 U.S.C, §3103a, to

delay any notice otherwise required byFederal Rule ofCriminal Procedure 41 (f), until 30days after

any individual accessing theTARGET WEBSITE has been identifieid to a sufficient degree as to

provide notice, unless the Court fmds good cause for further delayed disclosure,

        41.    The government ftirther submits that, to the extent that use of the NIT can be

characterized as a seizure ofan electronic communication or electronic information under 18U.S.C.

§ 3103a(b)(2), such a seizure is reasonably necessary, because without this seizure, there would be

no other way, to my knowledge, to view the information and to use it to further the investigation.

Furthermore, the NITdoes notdeny theusers or administrators access to theTARGET WEBSITE or

the possession or use of the information delivered to the computer controlled byor known to the

government, nor does the NTT pennanently alter anysoftwareor programs on theuser's computer.

                   TIMING OF SEIZURE/REVIEW OF INFORMATION

       42.     Rule 41 (e)(2)requires that thewarrant command FBI"to execute thewarrantwithin a

specified period of time no longer than fourteen days" and to "execute the warrant during the

daytime, unless the judge for goodcauseexpresslyauthorizesexecutionat anothertime." After the

server hosting the TARGET WEBSITE is seized, it will remain in law enforcement custody.

Accordingly, the government requests authority to employ the NTT onto theTARGET WEBSITE at

any time of day, within fourteen days of the Court's authorization. The NITwill be used on the

TARGET WEBSITE for not more than 30-days from the date of the issuance of the warrant.


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       43.         For the reasons above and further, because users of the TARGET WEBSITE

commimioate on the board at various hours of the day, including outside thetime period between

6:00 a,m. and 10:00 p.m., and because the timing ofthe user's communication on the board issolely
determined by when theuser chooses to access the board, rather than bylaw enforcement, Irequest
authority for the NTT to be employed at any time a user's computer accesses the TARGET

WEBSITE, even if that occurs outside the hours of 6:00 a.m. and 10:00 p.m. Further, I seek

permission to review information transmitted to a computer controlled by or known to the

government, as a result of the NTT, at whatever timeof day or nightthe information is received.

       44.         The government does notcurrently know the exactconfiguration of the computers

that may be used to access the TARGET WEBSITE. Variations in configuration, e.g., different

operatingsystems,may requirethe government to sendmorethanone communication in orderto get

the NIT to activate pfoperly. Accordingly, I request that this Court authorize the government to

continue to send commimications to theactivatingcomputers for up to 30 daysafter this warrant is

authorized.

       45.         The Government may, if necessary, seek further authorization from the Court to

employ the NIT on the TARGETWEBSITE beyondthe 30-day period authorizedby this warrant

                             SEARCH AUTHORIZATION REQUESTS

       46.         Accordingly, it is respectfully requested that this Court issue a search warrant

authorizing the following;

              a.      the NIT may cause an activating computer - wherever located ~ to send to a

                      computer controlled by or known to the government, network level messages

                      cantaining information that may assist in identifyingthe computer, its location,


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                        other information about thecomputer and theuser of thecomputer, asdescribed

                        above and in Attachment B;

               b.       the use ofmultiple communications, without prior announcement, within 30days

                        from thedate this Court issues the requested warrant;

               c.       that thegovernment may receive and read, at any time ofday ornight, within 30

                        days from the date the Court authorizes of use of the NIT, the. information that

                        the NIT causes to be sent to the computer controlled by or known to the

                        government;

               d.       that, pursuant to 18 U.S.C. §3103a(b)(3), to satisfy thenotification requirement

                        ofRule 41 (f)(3) ofthe Federal Rules ofCriminal Procedure, the goverrunent may

                        delay providing a copy of the search warrant and the receipt for any property

                        taken for thirty(30) daysafter a user of an "activating" computerthat accessed

                        the TARGET WEBSITE has beenidentified to a sufficient degree asto provide

                        notice, unless notification is further delayed bycourt order,

                    REQUEST FOR SEALING OF APPUCATlON/AFFIPAVIT

         47.        I further request that this application and the related documents be filed under seal.

Thisinformation to beobtained is relevant toan ongoing investigation. Premature disclosures ofthis

application and related materials mayjeopardize the success of the above-described investigation.

Further, this affidavit describes a law enforcement technique in sufficient detail that disclosure of

this technique could assist others in thwarting its use in the future, Accordingly, I request that the

affidavit remain under seal until further order of the Court.'


' The United States considers this technique tobe covered by law enforcement privilege, Should the Court wish to

                                                       30
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                                                 CONCLUSION

          48.      Based on the iftfonnatjon identified above, infonnation provided to me, and my

 experience and training, I have probable cause to believe there exists evidence, fruits, dnd

 instrumentalities ofcriminal activity related tothesexual exploitation ofchildren oncomputers that

 accessthe TARGET WEBSITE, in violation of 18 U.S.C. §§ 2251 and 2252A.

          49.      Basedon theinformation described above, thereisprobablecauseto believe thatthe

information described in Attachment B constitutes evidence and instrumentalities ofthese crimes.

          50.      Based on the infonnation described above, there is probable cause to believe that

employing a NTTon theTARGETWEBSITE, tocollectinfonnationdescribedin Attachment B,will

result in the FBI obtaining the evidence and instrumentalities of the child exploitation crimes

described above.

         Sworn to under the pains and penalties of peguiy.


                                                      Douglai
                                                        >uglas Macfarlane
                                                      Special Agent


Sworn to and subscribed before me
tly^Oday of February     /s/
          TJjeresa Carroll Buchanan
                  nited States Magistrntp
Honorable Theresa Carroll Buchanan
UNITED STATES MAGISTRATE JUDGE




issueany written opinionregarding any aspectof thisrequest, theUnited States requests noticeand an opportunity to
bo heard with respect to the issue of law enforcement privilege.

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                                        ATTACHMENT A


                                      Place to be Searched

        This warrant authorizes the useofanetwork investigative technique fTvIirO tobedeployed
on the computer server describedbelow, obtaining informationdescribed in Attachment B from the

activating computers described below.

       The computer server is the server operating the Tor network child pornography website

referred to hereinas the TARGET WEBSITE, as identified by its URL-upf45jv3b2iuGtmI.onion -

whichwill be located at a government facility in the Eastern District of Virginia.

       The activatingcomputers are those of any user or administratorwho logsintothe TARGET

WEBSITE by entering a usemame and password. The governmentwill not employ this network

investigativetechniqueafter30 days after thiswarrant is authorized, without further authorization.




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                                             ATTACHMENT B

                                          Information to be Seized

        From any "activating" computer described in Attachment A:

        1.       the"activating" computer's actual IPaddress, andthedateandtimethat theNTT determines

             what that IP address is;

        2.       a unique identifier generated by the NIT (e.g., a series of numbers, letters, and/or special

             characters) to distinguish datafrom that of other "activating" computers, that will besent with

             and collected by the NIT;

        3.      the type of operating system running on the computer, including type (e.g., Windows),

             version(e.g., Windows 7), and architecture (e>g., x 86);

       4.       information about whether theNTT hasalready been delivered tothe"activating" computer;

       5.       the "activating" computer'sHost Name;

       6.       the "activating" computer's active operating system usemame; and

       .7.      the "activating" computer's media accesscontrol("MAC") address;

tiiat is evidence of violations of 18 U.S.C. § 2252A(g), Engaging in a Child Exploitation Enterprise; 18

U.S.C. §§ 2251 (d)(1)andor (e),Advertising andConspiracy toAdvertise ChildPornography; 18U.S.C. §§

2252A(a)(2)(A) and (b)(1). Receiptand Distributionof, and Conspiracyto Receiveand Distribute Child

Pornography; and/or 18U.S.C. § 2252A(a)(5)(B) and (b)(2). Knowing Accessor Attempted Access With

Intent to View Child Pornography.




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AO93 (Rev. 12/09)SearchandSeiture Warrani



                                       United States District Court
                                                                       for the
                                                       Eastern District of Vii^lnia

               In the Matter of the Search of                            )
          CBrle/iy describe theproperty to beMarched                     )
            or identify the person by name atvi address)                 )       CaseNo 1:15-SW-89
             OF COMPUTERS THAT ACCESS                                    )
                    upf45Jv3b2iuctnnl.onlon                              ^                  UNDER SEAL
                                                                         )

                                            SEARCH AND SEIZURE WARRANT

To:       Any autiiorized law enforcementofficer

         An applicationby a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located Inthe         Eastern           District of            Virginia
(identic theperson or describe thepropertyto be searchedandgm its iocalion):
See Attachment A


          The person or property to be searched, described above, is believed to conceal (identic the person ordescribe the
property to be seized):
See Attachment B



          I find that theaffidavit(s), or any recorded, testimony, establish probable cause to search andseize theperson or
property.

          YOU ARE COMMANDED to execu^ils warrant on or before                                                 March 6,2015
                                                              ^                                                  fo exceed i4days)
          in the daytime d;00 a.m, to 10 p-nif                    at any lime in the day or night as i find reasonable cause has been
                                                           /r ^established.
         Unless delayed notice is authorized below, you must give a copy of the warrant and a receiptfor the property
taken to the person fiom whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
        Theofficerexecuting this warrant, or anofficer present during thee.xecution of the warrant, must prepare an
inventory as required by lawand promptly return this warrant and inventory to United StatesMagistrate Judge
        Honorable Theresa Carroll Buchanan
                              (name)

      Gf I find thai immediate notification may have anadverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay noticeto the personwho> or who.^'e property, wil! be
searched or seized (chech the appropriate box) CSffor             30     days (not to exceed 30).
                                                      Ountii, the facts justifying, the later specifi^^ ^ale of                 j       .

Date and time issued: 2/20/2015 \ , 1 / ] (                                          ?         ' ''.               ' *'• .
City and Slate:        Alexandria. Virolnia                            Honorable Theresa CarrollBuchanan. U.S. Maolslrate Judge
                                                                                                Printed name and title
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AO 93 CROv 12/09)ScarthandS(ffiurcWBiTnni (Paac2)

                                                           Return

Case No.:                          Date and time warrant executed:       Copyof warrant and Inventory left with:
1:15-SW>89                         Sfifi/fte i/wij-          vv/zr             A-/4
Inventory made in the presenceof:




                                                      caa>i(l            lA^SPT

                     ^rto/i^ Ciii_




                                                         Certification



         1declare under penalty ofperjuiy that this inventory Iscorrect and was returned along with the original warrant
to the designated judge.



Date: tltklj .V^..iLa/^                                                         ExocuUng qfficvr's signoum

                                                             ^nC^'c/j 4oCfif^ F}1.
                                                               I           '       Printed name and liiie
